               Case 7:22-cv-00163-EKD Document 2 Filed 03/22/22 Page 1 of 1 Pageid#: 39
                                         UNITED STATES DISTRICT COURT
                                      FOR THE WESTERN DISTRICT OF VIRGINIA
 Jande Doe 1 and Jane Doe 2
Plaintiff(s)

V.                                                                             Civil Action No.: 7:22-cv-00163

 Roanoke County School Board, et al.
Defendant(s)

         DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A DIRECT FINANICAL
                                     INTEREST IN LITIGATION
ONLY ONE FORM NEEDS TO BE COMPLETED FOR A PARTY EVEN IF THE PARTY IS REPRESENTED BY MORE THAN ONE ATTORNEY. DISCLOSURES MUST BE FILED ON
BEHALF OF INDIVIDUALS AS WELL AS CORPORATIONS AND OTHER LEGAL-ENTITIES. COUNSEL HAS A CONTINUING DUTY TO UPDATE THIS INFORMATION.

     IF YOU ANSWER "YES" TO ANY OF THE FOLLOWING QUESTIONS, THIS STATEMENT MUST BE FILED IN ECF AS A POSITIVE CORPORATE DISCLOSURE STATEMENT.

Pursuant to Standing Order entered May 15, 2000.

 Jane Doe 1                                                        who is       Plaintiff
(Name of party you represent)                                                  (Plaintiff/Defendant)


makes the following disclosure:

1. Is the party a publicly held corporation or other publicly held entity?
               Yes             No

2. Does the party have any parent corporations?
             Yes            No

      If yes, identify all parent corporations, including grandparent and great grandparent corporations:



3. Is 10 percent or more of the party's stock owned by a publicly held corporation or other publicly held entity?
              Yes             No

      If yes, identify all such owners:



4. Is there any other publicly held corporation or other publicly held entity that has a direct financial interest in the outcome
   of the litigation?
                Yes           No
      If yes, identify all such owners:



5. Is the party a trade association?
               Yes             No
      If yes, identify all members of the association, their parent corporations, and any publicly held companies that own ten (10%)
      percent or more of the party's stock:




               /s/John P. Fishwick, Jr.                              03/22/2022
                                     (Signature)                                                (Date)
